Case 1:17-cr-O0686-LAK Document 352 Filed 04/15/21 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
-against- 17-cr-0686 (LAK)
JAMES GATTO, et al.
Defendant(s).
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MEMORANDUM AND ORDER

LEWIS A. KAPLAN, District Judge.

This matter is before the Court on a motion by defendant Christian Dawkins, joimed
by defendants Code and Gatto, for an order permitting the defendant to disclose in discovery in the
civil case Brian Bowen II vy. Adidas America, Inc. et al..No. 18-cv-3118- JFA (D.S.C.) (the “Civil
Case”) discovery materials produced by the government under a protective order issued in this case.
They have made a similar application before the Honorable Edgardo Ramos, who presides over a
related criminal case in this district.

This Court appreciates the extension of comity by the distinguished judge presiding
over the Civil Case in South Carolina as well as his generous offer to enter a comparable protective
order in the event this Court were to modify its own protective order to allow production of
discovery turned over by the prosecution in this case for use in the Civil Case. Here, however, the
government has strenuously opposed the application. It points out that “granting [t]his request
would permit the sharing of materials with multiple parties who had not been privy to the materials

previously, and the materials could be shared further with other witnesses and potentially disclosed
Case 1:17-cr-O0686-LAK Document 352 Filed 04/15/21 Page 2 of 2

2

at public proceedings in the Civil Case.” Some of that material would implicate privacy interests
of third parties. And it would do so without a careful balancing of the comparative strength of the
privacy interests at issue and the relevancy and materiality of specific materials for the Civil Case.
Moreover, the movants here are free to expand their efforts in the Civil Case to obtain pertinent
information directly from third parties.

Much as this Court would be eager to accommodate a request from a colleague in
another district court, in all of the circumstances this application is denied.

SO ORDERED.

Dated: April 15, 2021

 

Lewis A. Kaplan f
United States District fudge
